                          Fourth Court of Appeals
                                 San Antonio, Texas
                                      JUDGMENT
                                    No. 04-22-00747-CR

                                   Ricardo GONZALEZ,
                                         Appellant

                                             v.

                                   The STATE of Texas,
                                         Appellee

                 From the 290th Judicial District Court, Bexar County, Texas
                               Trial Court No. 2019CR1779
                          Honorable Jennifer Peña, Judge Presiding

   BEFORE JUSTICE CHAPA, JUSTICE RODRIGUEZ, AND JUSTICE VALENZUELA

     In accordance with this court’s opinion of this date, the judgment of the trial court is
AFFIRMED. Counsel’s motion to withdraw is GRANTED.

       SIGNED August 21, 2024.

                                             _____________________________
                                             Lori I. Valenzuela, Justice
